              Case 2:20-cv-00188-RSL Document 1 Filed 02/07/20 Page 1 of 4




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 6
                               UNITED STATES DISTRICT COURT
 7                       FOR THE WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 8
     BOARD OF TRUSTEES OF THE SOUND
 9   RETIREMENT TRUST,

10                              Plaintiff,             NO.

11           v.

12   K-C FOOD CORPORATION, UBI No.                     COMPLAINT FOR COLLECTION OF
     600147524,                                        EMPLOYER WITHDRAWAL
13                                                     LIABILITY
                                Defendant.
14

15          For its complaint, plaintiff alleges as follows:

16                         I.       PARTIES, JURISDICTION AND VENUE

17          1.       Plaintiff is the Board of Trustees of the Sound Retirement Trust (“Trust”).

18   The Trust is an “employee pension benefit plan” as defined in Section 3(2) of the Employee

19   Retirement Income Security Act of 1974, as amended (“ERISA”), 29 U.S.C. § 1002(2), and

20   a “multiemployer plan” as defined in ERISA § 4001(a)(3), 29 U.S.C. § 1301(a)(3). Plaintiff

21   is the “plan sponsor” of the Trust, as defined in ERISA § 4001(a)(10), 29 U.S.C. §

22   1301(a)(10).


     COMPLAINT FOR COLLECTION OF EMPLOYER                                   BARLOW COUGHRAN
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        3901.000 WDL va071209
              Case 2:20-cv-00188-RSL Document 1 Filed 02/07/20 Page 2 of 4




 1          2.          Defendant K-C Food Corporation (“K-C Food”) is a Washington state

 2   corporation having its principal business location in Des Moines, Washington.

 3          3.          K-C Food is an “employer” as defined in ERISA § 3(5), 29 U.S.C. § 1002(5).

 4          4.          This Court has jurisdiction over this action pursuant to ERISA §§ 4301 and

 5   4221(b), 29 U.S.C. § 1451 and 29 U.S.C. § 1401(b), respectively.

 6          5.          Venue is properly laid in this Court pursuant to ERISA § 4301(d), 29

 7   U.S.C.§ 1451(d), because the Trust is administered within this judicial district.

 8                II.       CLAIM FOR RELIEF: TRUST’S WITHDRAWAL LIABILITY

 9          6.          The Trust re-alleges the facts set forth in paragraphs 1 through 5 above as if

10   stated fully herein and further allege as follows:

11          7.          The “plan year” of the Trust for purposes of ERISA § 4205, 29 U.S.C. §

12   1385, begins July 1st and ends the following June 30th.

13          8.          Prior to June 2019, K-C Food was obligated to make employer contributions

14   to the Trust on behalf of certain of their employees under the terms of one or more collective

15   bargaining agreements.

16          9.          In June 2019, K-C Food permanently ceased to have an obligation to

17   contribute to the Trust.

18          10.         In June 2019, K-C Food had a complete withdrawal from the Trust for the

19   purposes of ERISA § 4203, 29 U.S.C. § 1383.

20          11.         As a result of its complete withdrawal, the Trust initially determined that K-C

21   Food owes $1,731,183.00 in withdrawal liability.

22


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        3901.000 WDL va071209
              Case 2:20-cv-00188-RSL Document 1 Filed 02/07/20 Page 3 of 4




 1          12.      Pursuant to ERISA § 4219(c)(1)(B), the number of payments to pay off its

 2   withdrawal liability assessment were limited to 80 quarterly installment payments in the

 3   amount of $17,214.00 with the first payment due on November 1, 2019.

 4          13.      By letter dated September 4, 2019, the Trust notified K-C Food in writing of

 5   its withdrawal liability assessment and demanded payment in accordance with the

 6   installment schedule.

 7          14.      K-C Food never asked for a review of the assessment, requested additional

 8   information or documentation from the Trust, or made the required payments when due.

 9          15.      K-C Food did not request arbitration in accordance with ERISA § 4221(a), 29

10   U.S.C. § 1401(a).

11          16.      By letter dated November 5, 2019, the Trust notified K-C Food that its initial

12   $17,214.00 quarterly payment had not been received and that payment must be made within

13   60 days to avoid a default pursuant to ERISA § 4219(c)(5), 29 U.S.C. § 1399(c)(5).

14          17.      K-C Food did not make the required payment within 60 days and was

15   accordingly declared in default pursuant to ERISA § 4219(c)(5), 29 U.S.C. § 1399(c)(5).

16          18.      Pursuant to ERISA § 4221(b)(1), 29 U.S.C. § 1401(b)(1), K-C Food owes the

17   Trust immediate payment of $1,731,183.00 in withdrawal liability.

18          19.      Under the terms of the Trust Agreement and ERISA §§ 4301(b), 515, and

19   502(g)(2), K-C Food is obligated to pay liquidated damages, interest, reasonable attorney’s

20   fees, and costs and expenses of suit to be determined upon motions at trial. 29 U.S.C. §§

21   1451(b), 1145, 1132(g)(2).

22


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        3901.000 WDL va071209
             Case 2:20-cv-00188-RSL Document 1 Filed 02/07/20 Page 4 of 4




 1         WHEREFORE, plaintiff prays for judgment as follows:

 2         (a)      For withdrawal liability from K-C Food Corporation in the amount of

 3                  $1,731,183.00 with interest thereon determined in accordance with ERISA

 4                  §§ 4219(c)(6) and 4221(b)(1). See 29 U.S.C. §§ 1399(c)(6) and 1401(b)(1);

 5         (b)      For attorney fees and costs, pursuant to ERISA § 502(g). See 29 U.S.C. §

 6                  1132(g); and

 7         (c)      For such other and further relief as this Court deems just and equitable.

 8

 9         DATED this 7th day of February, 2020.

10                                                 s/ Douglas M. Lash
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